Case 2:10-cr-02123-LRS   ECF No. 217   filed 09/08/11   PageID.636 Page 1 of 6
Case 2:10-cr-02123-LRS   ECF No. 217   filed 09/08/11   PageID.637 Page 2 of 6
Case 2:10-cr-02123-LRS   ECF No. 217   filed 09/08/11   PageID.638 Page 3 of 6
Case 2:10-cr-02123-LRS   ECF No. 217   filed 09/08/11   PageID.639 Page 4 of 6
Case 2:10-cr-02123-LRS   ECF No. 217   filed 09/08/11   PageID.640 Page 5 of 6
Case 2:10-cr-02123-LRS   ECF No. 217   filed 09/08/11   PageID.641 Page 6 of 6
